                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 1 of 35



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            16
                                                   UNITED STATES DISTRICT COURT
            17
                                               NORTHERN DISTRICT OF CALIFORNIA
            18
            19
                     WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
            20       and FACEBOOK, INC., a Delaware
                     corporation,                                 PLAINTIFFS’ OPPOSITION TO
            21                                                    DEFENDANTS’ MOTION TO DISMISS

            22                       Plaintiffs,                  Date:      May 27, 2020
                                                                  Time:      9:00 a.m.
            23             v.                                     Courtroom: 3
                                                                  Judge:     Hon. Phyllis J. Hamilton
            24       NSO GROUP TECHNOLOGIES LIMITED
                     and Q CYBER TECHNOLOGIES LIMITED,
            25
                                     Defendants.
            26

            27

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                                                                             PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
 SAN FRA NCI S CO                                                                       CASE NO. 4:19-CV-07123-PJH
           Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 2 of 35



 1                                                    TABLE OF CONTENTS
 2                                                                                                                                      Page
 3
     I.       INTRODUCTION ................................................................................................................ 1
 4
     II.      BACKGROUND .................................................................................................................. 2
 5
     III.     ARGUMENT ........................................................................................................................ 3
 6
              A.        NSO HAS NO VALID CLAIM TO IMMUNITY………………………………... 3
 7
                        1.         THE FOREIGN SOVEREIGN IMMUNITIES ACT ONLY APPLIES TO
 8                                 FOREIGN STATES. ..................................................................................... 3

 9                      2.         NO “DERIVATIVE FOREIGN SOVEREIGN IMMUNITY” EXISTS. ..... 4

10                      3.         NSO CANNOT SATISFY THE REQUIREMENTS FOR THE
                                   “DERIVATIVE SOVEREIGN IMMUNITY” APPLICABLE TO
11                                 CERTAIN U.S.-GOVERNMENT CONTRACTORS.................................. 6

12                      4.         NSO’S “EXTRINSIC EVIDENCE” CANNOT SAVE ITS IMMUNITY
                                   DEFENSE. .................................................................................................... 7
13
              B.        THE COMPLAINT DOES NOT FAIL TO JOIN A REQUIRED PARTY……… 9
14
              C.        THE COURT HAS PERSONAL JURISDICTION OVER NSO………………... 10
15
                        1.         NSO CONSENTED TO THIS COURT’S JURISDICTION. .................... 10
16
                        2.         ALTERNATIVELY, NSO’S CONTACTS WITH CALIFORNIA
17                                 ESTABLISH SPECIFIC JURISDICTION. ................................................ 12

18                      3.         THIS COURT HAS JURISDICTION UNDER RULE 4(K)(2). ................ 17

19                      4.         THIS COURT SHOULD EXERCISE PENDENT JURISDICTION.. ....... 18

20            D.        THE COMPLAINT VALIDLY ALLEGES VIOLATIONS OF FEDERAL AND
                        STATE LAW…………………………………………………………………….. 19
21
                        1.         PLAINTIFFS STATE A CLAIM FOR A VIOLATION OF THE CFAA. 19
22
                        2.         PLAINTIFFS STATE A CLAIM FOR TRESPASS TO CHATTELS. ..... 24
23
     IV.      CONCLUSION ................................................................................................................... 25
24

25
26

27

28

                                                                         i                     PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
                                                                                                          CASE NO. 4:19-CV-07123-PJH
                            Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 3 of 35



                     1                                                   TABLE OF AUTHORITIES

                     2                                                                                                                                       Page

                     3   Cases
                     4
                         Action Embroidery Corp. v. Atl. Embroidery, Inc.,
                     5       368 F.3d 1174 (9th Cir. 2004)................................................................................................. 19

                     6   Adkisson v. Jacobs Eng’g Grp., Inc.,
                            790 F.3d 641 (6th Cir. 2015)..................................................................................................... 8
                     7
                         Automattic, Inc. v. Steiner,
                     8      82 F. Supp. 3d 1011 (N.D. Cal. 2015) (Hamilton, J.) ............................................................. 10
                     9   Axiom Foods, Inc. v. Acerchem Int’l, Inc.,
                    10      874 F.3d 1064 (9th Cir. 2017)..................................................................................... 14, 15, 18

                    11   Ballard v. Savage,
                            65 F.3d 1495 (9th Cir. 1995)............................................................................................. 10, 17
                    12
                         Boschetto v. Hansing,
                    13      539 F.3d 1011 (9th Cir. 2008)................................................................................................. 14
                    14   Boyle v. United Techs. Corp.,
                    15      487 U.S. 500 (1988) .................................................................................................................. 5

                    16   Broidy Capital Management LLC v. Muzin,
                            2020 WL 1536350 (D.D.C. Mar. 31, 2020) ...................................................................... 3, 5, 6
                    17
                         Burger King Corp. v. Rudzewicz,
                    18      471 U.S. 462 (1985) .................................................................................................... 12, 13, 17
                    19   Butters v. Vance International, Inc.,
                            225 F.3d 462 (4th Cir. 2000)..................................................................................................... 6
                    20
                    21   Cabalce v. Thomas E. Blanchard & Assocs., Inc.,
                            797 F.3d 720 (9th Cir. 2015)................................................................................................. 6, 7
                    22
                         Campbell-Ewald Co. v. Gomez,
                    23     136 S. Ct. 663 (2016) ............................................................................................................ 4, 6
                    24   CE Distribution, LLC v. New Sensor Corp.,
                            380 F.3d 1107 (9th Cir. 2004)................................................................................................. 19
                    25
                    26

                    27

                    28
  COOLEY LLP
ATTO RNEY S AT LAW
 SAN FRA NCI S CO                                                                             ii                    PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
                                                                                                                               CASE NO. 4:19-CV-07123-PJH
                            Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 4 of 35



                     1                                                   TABLE OF AUTHORITIES

                     2   CollegeSource v. AcademyOne,                                                                                                  PAGE
                            653 F.3d 1066 (9th Cir. 2011)................................................................................................. 16
                     3

                     4   CompuServe Inc. v. Cyber Promotions, Inc.,
                           962 F. Supp. 1015 (S.D. Ohio 1997)................................................................................. 24, 25
                     5
                         CompuServe, Inc. v. Patterson,
                     6     89 F.3d 1257 (6th Cir. 1996)................................................................................................... 13
                     7   Coupons, Inc. v. Stottlemire,
                            2008 WL 3245006 (N.D. Cal. July 2, 2008) ........................................................................... 24
                     8
                         Craigslist Inc. v. 3Taps Inc.,
                     9
                            942 F. Supp. 2d 962 (N.D. Cal. 2013) .................................................................................... 24
                    10
                         Craigslist, Inc. v, Naturemarket, Inc.,
                    11      694 F. Supp. 2d 1039 (N.D. Cal. 2010) (Hamilton, J.) .................................................... passim

                    12   DEX Sys., Inc. v. Deutsche Post AG,
                           727 F. App’x 276 (9th Cir. 2018) ........................................................................................... 15
                    13
                         Doğan v. Barak,
                    14
                            932 F.3d 888 (9th Cir. 2019)............................................................................................. 3, 5, 6
                    15
                         Dole Food Co. v. Patrickson,
                    16      538 U.S. 468 (2003) .................................................................................................................. 4

                    17   Dole Food Co. v. Watts,
                            303 F.3d 1104 (9th Cir. 2002).......................................................................................... passim
                    18
                         E.E.O.C. v. Peabody W. Coal Co.,
                    19      610 F.3d 1070 (9th Cir. 2010)............................................................................................. 9, 10
                    20
                         Eldredge v. Carpenters 46 N. Cal. Ctys. Joint Apprenticeship & Training Comm.,
                    21      662 F.2d 534 (9th Cir. 1981)..................................................................................................... 9

                    22   In re Estate of Ferdinand Marcos Human Rights Litig.,
                             94 F.3d 539 (9th Cir. 1996)....................................................................................................... 9
                    23
                         Facebook, Inc. v. ConnectU LLC,
                    24      2007 WL 2326090 (N.D. Cal. Aug. 13, 2007) .................................................................. 16, 18
                    25   Facebook, Inc. v. Power Ventures, Inc.,
                    26      844 F.3d 1058 (9th Cir. 2016)........................................................................................... 20, 21

                    27

                    28
  COOLEY LLP
ATTO RNEY S AT LAW
 SAN FRA NCI S CO                                                                            iii                    PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
                                                                                                                               CASE NO. 4:19-CV-07123-PJH
                            Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 5 of 35



                     1                                                   TABLE OF AUTHORITIES

                     2   Facebook, Inc. v. Rankwave Co.,                                                                                       PAGE
                            No. 19-3738 (N.D. Cal. Nov. 14, 2019)............................................................................ 12, 13
                     3

                     4   Flextronics Int’l, Ltd. v. Parametric Tech. Corp.,
                            2014 WL 2213910 (N.D. Cal. May 28, 2014) ........................................................................ 23
                     5
                         Gillespie v. Prestige Royal Liquors Corp.,
                     6       183 F. Supp. 3d 996 (N.D. Cal. 2016) .................................................................................... 19
                     7   Gomez v. Campbell-Ewald Co.,
                           768 F.3d 871 (9th Cir. 2014), aff’d, 136 S. Ct. 663 (2016) ...................................................... 8
                     8
                         Google, Inc. v. Eolas Techs. Inc.,
                     9
                            2014 WL 2916621 (N.D. Cal. June 24, 2014) ........................................................................ 12
                    10
                         Hernandez v. Mesa,
                    11      140 S. Ct. 735 (2020) ................................................................................................................ 5

                    12   hiQ Labs Inc. v. LinkedIn Corp.,
                            938 F.3d 985 (9th Cir. 2019)................................................................................................... 20
                    13
                         Holland Am. Line Inc. v. Wartsila N. Am., Inc.,
                    14
                            485 F.3d 450 (9th Cir. 2007)................................................................................................... 17
                    15
                         Hotmail Corp. v. Van$ Money Pie Inc.,
                    16      1998 WL 388389 (N.D. Cal. Apr. 16, 1998) .......................................................................... 25

                    17   Hungerstation LLC v. Fast Choice LLC,
                            2020 WL 137160 (N.D. Cal. Jan. 13, 2020) ........................................................................... 15
                    18
                         Hydentra HLP Int’l v. Sagan Ltd.,
                    19      783 F. App’x 663 (9th Cir. 2019) ..................................................................................... 17, 18
                    20
                         Intel Corp. v. Hamidi,
                    21       30 Cal. 4th 1342 (2003) .................................................................................................... 14, 25

                    22   Jedson Eng'g, Inc. v. Spirit Const. Servs., Inc.,
                            720 F. Supp. 2d 904 (S.D. Ohio 2010).................................................................................... 24
                    23
                         Kimberlite Corp. v. John Does 1–20,
                    24      2008 WL 2264485 (N.D. Cal. June 2, 2008) .......................................................................... 23
                    25   Laub v. U.S. Dep’t of Interior,
                    26      342 F.3d 1080 (9th Cir. 2003)................................................................................................... 8

                    27

                    28
  COOLEY LLP
ATTO RNEY S AT LAW
 SAN FRA NCI S CO                                                                            iv                     PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
                                                                                                                               CASE NO. 4:19-CV-07123-PJH
                            Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 6 of 35



                     1                                                   TABLE OF AUTHORITIES

                     2   Liu v. Republic of China,                                                                                                      PAGE
                             892 F.2d 1419 (9th Cir. 1989)................................................................................................... 9
                     3

                     4   LVRC Holdings LLC v. Brekka,
                            581 F.3d 1127 (9th Cir. 2009)........................................................................................... 20, 22
                     5
                         Manetti-Farrow, Inc. v. Gucci Am., Inc.,
                     6     858 F.2d 509 (9th Cir. 1988)................................................................................................... 11
                     7   Mavrix Photo, Inc. v. Brand Techs., Inc.,
                           647 F.3d 1218 (9th Cir. 2011)........................................................................................... 10, 11
                     8
                         Micron Tech., Inc. v. United Microelectronics Corp.,
                     9
                            2019 WL 1959487 (N.D. Cal. May 2, 2019) .......................................................................... 18
                    10
                         Microsoft Corp. v. Does 1–18,
                    11      2014 WL 1338677 (E.D. Va. Apr. 2, 2014) ............................................................................ 25

                    12   Mitan v. Feeney,
                            497 F. Supp. 2d 1113 (C.D. Cal. 2007)................................................................................... 19
                    13
                         Moore v. McAleenan,
                    14
                           2019 WL 2870079 (D. Alaska July 3, 2019) ............................................................................ 8
                    15
                         Multiven, Inc. v. Cisco Sys., Inc.,
                    16      725 F. Supp. 2d 887 (N.D.Cal.2010) ...................................................................................... 23

                    17   NetApp, Inc. v. Nimble Storage, Inc.,
                            41 F. Supp. 3d 816 (N.D. Cal. 2014) ...................................................................................... 14
                    18
                         Novoa v. GEO Grp., Inc.,
                    19      2018 WL 4057814 (C.D. Cal. Aug. 22, 2018) ...................................................................... 7, 8
                    20
                         Panavision Intl., L.P. v. Toeppen,
                    21      141 F.3d 1316 (9th Cir. 1998).......................................................................................... passim

                    22   Pasquantino v. United States,
                            544 U.S. 349 (2005) .................................................................................................................. 5
                    23
                         Picot v. Weston,
                    24      780 F.3d 1206 (9th Cir. 2015)................................................................................................. 14
                    25   Principal Mut. Life Ins. Co. v. Vars, Pave, McCord & Freedman,
                    26      65 Cal. App. 4th 1469 (1998).................................................................................................. 11

                    27

                    28
  COOLEY LLP
ATTO RNEY S AT LAW
 SAN FRA NCI S CO                                                                             v                     PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
                                                                                                                               CASE NO. 4:19-CV-07123-PJH
                            Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 7 of 35



                     1                                                  TABLE OF AUTHORITIES

                     2   Raffaele v. Compagnie Generale Mar.,                                                                                           PAGE
                            707 F.2d 395 (9th Cir. 1983)................................................................................................... 16
                     3

                     4   Republic of Phil. v. Pimentel,
                            553 U.S. 851 (2008) ................................................................................................................ 10
                     5
                         Rio Props., Inc. v. Rio Int’l Interlink,
                     6      284 F.3d 1007 (9th Cir. 2002)................................................................................................. 13
                     7   Rosen v. Terapeak, Inc.,
                            2015 WL 12724071 (C.D. Cal. Apr. 28, 2015) ...................................................................... 15
                     8
                         Roth v. Garcia Marquez,
                     9
                            942 F.2d 617 (9th Cir. 1991)................................................................................................... 16
                    10
                         Ruddell v. Triple Canopy, Inc.,
                    11      2016 WL 4529951 (E.D. Va. Aug. 29, 2016) ........................................................................... 6

                    12   Salim v. Mitchell,
                             183 F. Supp. 3d 1121 (E.D. Wash. 2016) ................................................................................. 8
                    13
                         Salim v. Mitchell,
                    14
                             268 F. Supp. 3d 1132 (E.D. Wash. 2017) (Salim II) ............................................................. 6, 7
                    15
                         Samantar v. Yousuf,
                    16      560 U.S. 305 (2010) .......................................................................................................... 1, 3, 6

                    17   Schwarzenegger v. Fred Martin Motor Co.,
                            374 F.3d 797 (9th Cir. 2004)................................................................................................... 10
                    18
                         Seattle Sperm Bank, LLC v. Cryobank Am., LLC,
                    19      2018 WL 3769803 (W.D. Wash. Aug. 9, 2018) ..................................................................... 15
                    20
                         Sinatra v. Nat’l Enquirer, Inc.,
                    21      854 F.2d 1191 (9th Cir. 1988)........................................................................................... 16, 17

                    22   Skapinetz v. CoesterVMS.com, Inc,
                            2019 WL 2579120 (D. Md. June 24, 2019) ............................................................................ 24
                    23
                         Summit Entm’t, LLC v. Santia,
                    24      2014 WL 12577430 (C.D. Cal. June 24, 2014) ................................................................ 14, 25
                    25   Synopsys, Inc. v. Ubiquiti Networks, Inc.,
                    26      2017 WL 3485881 (N.D. Cal. Aug. 15, 2017) ........................................................................ 15

                    27

                    28
  COOLEY LLP
ATTO RNEY S AT LAW
 SAN FRA NCI S CO                                                                            vi                    PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
                                                                                                                              CASE NO. 4:19-CV-07123-PJH
                            Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 8 of 35



                     1                                                   TABLE OF AUTHORITIES

                     2   Theofel v. Farey-Jones,                                                                                                      PAGE
                            359 F.3d 1066 (9th Cir. 2003)........................................................................................... 22, 23
                     3

                     4   Thrifty-Tel, Inc. v. Bezenek,
                            46 Cal. App. 4th 1559 (1996).................................................................................................. 24
                     5
                         Ticketmaster L.L.C. v. Prestige Entm't W., Inc.,
                     6      315 F. Supp. 3d 1147 (C.D. Cal. 2018)................................................................................... 23
                     7   Twitch Interactive, Inc. v. Does 1 Through 100,
                            2019 WL 3718582 (N.D. Cal. Aug. 7, 2019) .......................................................................... 25
                     8
                         United States v. Morris,
                     9
                            928 F.2d 504 (2d Cir. 1991) .............................................................................................. 20, 21
                    10
                         United States v. Nosal,
                    11      676 F.3d 854 (9th Cir. 2012) (Nosal I) ............................................................................. 20, 21

                    12   United States v. Nosal,
                            844 F.3d 1024 (9th Cir. 2016) (Nosal II) .......................................................................... 20, 22
                    13
                         United States v. Phillips,
                    14
                            477 F.3d 215 (5th Cir. 2007)................................................................................................... 20
                    15
                         Van Buren v. United States,
                    16      No. 19-783 (U.S.) .................................................................................................................... 22

                    17   In re W. States Wholesale Nat. Gas Antitrust Litig.,
                             715 F.3d 716 (9th Cir. 2013)................................................................................................... 16
                    18
                         W.S. Kirkpatrick & Co. v. Envtl. Tectonics Corp, Int’l,
                    19      493 U.S. 400 (1990) .................................................................................................................. 9
                    20
                         Walden v. Fiore,
                    21      571 U.S. 277 (2014) ................................................................................................................ 15

                    22   Warren v. Fox Family Worldwide, Inc.,
                           328 F.3d 1136 (9th Cir. 2003)................................................................................................... 8
                    23
                         Washington v. GEO Grp., Inc.,
                    24     2019 WL 3565105 (W.D. Wash. Aug. 6, 2019) ....................................................................... 7
                    25
                    26

                    27

                    28
  COOLEY LLP
ATTO RNEY S AT LAW
 SAN FRA NCI S CO                                                                            vii                    PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
                                                                                                                               CASE NO. 4:19-CV-07123-PJH
                            Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 9 of 35



                     1                                                      TABLE OF AUTHORITIES

                     2                                                                                                                                                 PAGE

                     3   Statutes
                     4
                         18 U.S.C.§ 1030 et seq. .......................................................................................................... passim
                     5
                         28 U.S.C. § 1603(b)(1)-(2).............................................................................................................. 4
                     6
                         Cal. Civ. Code § 1641 ................................................................................................................... 11
                     7
                     8
                         Other Authorities
                     9
                         Fed. R. Civ. P.
                    10      4(k)(2) ............................................................................................................................... 18, 19
                    11      12 et seq......................................................................................................................... 2, 10, 13
                            15 ............................................................................................................................................. 10
                    12      19 et seq........................................................................................................................... 1, 9, 10
                            65 ............................................................................................................................................. 10
                    13
                         H.R. Rep. 98-894 (1984), reprinted in 1984 U.S.C.C.A.N. 3689 ................................................ 21
                    14
                         RESTATEMENT (SECOND) OF FOREIGN RELATIONS LAW § 66(f) (1965) .......................................... 6
                    15
                    16

                    17

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                    19

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  COOLEY LLP
ATTO RNEY S AT LAW
 SAN FRA NCI S CO                                                                                 viii                     PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
                                                                                                                                      CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 10 of 35



              1      I.     INTRODUCTION

              2             A flawed premise runs through the motion to dismiss (“MTD”). Defendants contend that they

              3      cannot be held responsible for designing and marketing spyware and then deploying it using

              4      WhatsApp’s U.S.-based servers, including in California, to hack into WhatsApp users’ devices.

              5      Instead, Defendants pin blame on unidentified foreign sovereigns. That argument fails at every turn:

              6      Defendants cannot cloak themselves in their putative clients’ immunity; they are accountable for suit

              7      in a California court; and the Complaint states valid claims for relief based on Defendants’

              8      unauthorized access to and hijacking of WhatsApp’s servers. The motion should be denied.

              9             First, the Foreign Sovereign Immunities Act (“FSIA”) affords Defendants no protection. The

            10       statute confers immunity only on foreign states—not private companies who develop and operate their

            11       own technology and then claim to act on a foreign state’s behalf. Defendants seek to expand the

            12       domestic doctrine of derivative sovereign immunity to cover contractors of foreign sovereigns—an

            13       unwarranted leap that no court in this circuit has endorsed and that conflicts with the Supreme Court’s

            14       decision in Samantar v. Yousuf, 560 U.S. 305 (2010). Nor can Defendants satisfy the prerequisites for

            15       derivative sovereign immunity even assuming it applies, given the discretion, control, and

            16       independence they concede they exercised in carrying out the attacks alleged in the Complaint. In any

            17       event, this issue cannot be resolved in Defendants’ favor at the pleading stage: their showing is

            18       conclusory, identifies no specific foreign sovereigns, and would require discovery.

            19              Second, Defendants’ putative foreign clients are not “required parties” under Fed. R. Civ. P.

            20       19(a). The Complaint alleges only wrongdoing by Defendants—not any other actor. And Rule 19(b)’s

            21       considerations of “equity and good conscience” require the action to proceed.

            22              Third, the Court has personal jurisdiction over Defendants. They agreed to litigate here, under

            23       California law; obtained financing from a California firm; accessed and exploited Plaintiffs’ California

            24       servers—as well as used separate servers in California—to carry out their attacks; intentionally

            25       directed their tortious conduct towards California-based corporations; and the effects of their actions

            26       were foreseeably felt in California by Plaintiffs and WhatsApp users.

            27              Finally, the Complaint validly alleges violations of the Computer Fraud and Abuse Act

            28       (“CFAA”) and trespass to chattels. Defendants had no authority to access WhatsApp’s servers with
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 SAN FRA NCI S CO                                                                                CASE NO. 4:19-CV-07123-PJH
                           Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 11 of 35



              1      an imposter program, manipulate network settings, and commandeer the servers to attack WhatsApp

              2      users. That invasion of WhatsApp’s servers and users’ devices constitutes unlawful computer hacking

              3      at the heart of the CFAA’s unauthorized-access offense. And Defendants’ interference with the

              4      intended functioning of Plaintiffs’ servers constitutes trespass to chattels under established law.

              5      II.     BACKGROUND

              6              WhatsApp provides an end-to-end encrypted communication service on mobile devices.

              7      Compl. ¶ 17. Users must install the WhatsApp app to use the WhatsApp Service. Id. WhatsApp

              8      routes end-to-end encrypted calls and messages between users using network protocols built into its

              9      app. Id. ¶¶ 17-18, 35.

            10               According to the allegations in the Complaint, which must be taken as true on a motion to

            11       dismiss under Fed. R. Civ. P. 12(b), Defendants NSO Group Technologies Inc. and Q Cyber

            12       Technologies Inc. (collectively, “NSO”) manufactured, distributed, and operated surveillance

            13       technology, also known as “spyware,” designed to intercept and extract information and

            14       communications from mobile phones and devices of WhatsApp users (“Target Devices”). Compl.

            15       ¶¶ 24–29.    NSO’s spyware includes a product called “Pegasus,” which was designed to be

            16       surreptitiously installed on a victim’s phone without her knowing her phone had been compromised.

            17       Id. ¶¶ 24-29, Ex. 10.1 Once installed, Pegasus captured an array of private information, including the

            18       phone’s location, camera, microphone, memory, and hard drive, as well as private emails, calls, texts,

            19       and messages sent via WhatsApp and other services. Id. ¶¶ 24-29. NSO ultimately deployed its

            20       spyware to hack into approximately 1,400 phones and devices belonging to WhatsApp users, including

            21       attorneys, journalists, human rights activists, government officials, and others. Id. ¶ 42.

            22               To carry out the attacks, NSO created WhatsApp accounts, gained unauthorized access to

            23       WhatsApp’s servers in the United States, including in California, and deployed spyware to connect

            24       users’ devices to a network of remote servers in California that NSO controlled. Id. ¶¶ 32, 35-48, 60-

            25       61. First, NSO reverse-engineered the WhatsApp app and wrote a program that emulated legitimate

            26       WhatsApp network traffic while hiding malware transmitted to users. Id. ¶¶ 35-48. By using its

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                      Defendants’ claim (MTD at 2 n.2) that Facebook sought to purchase Pegasus to monitor Onavo app
            28       users is inaccurate and an attempt to distract from Defendants’ own conduct and the issues in this case.
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 SAN FRA NCI S CO
                                                                                                  CASE NO. 4:19-CV-07123-PJH
                            Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 12 of 35



              1      unauthorized program to access WhatsApp servers, NSO circumvented technical restrictions and

              2      security measures that prevent users from altering network call settings. Id. NSO then manipulated

              3      those settings to covertly transmit malicious code through WhatsApp servers and inject the code into

              4      users’ devices, even when the victims did not answer the call. Id. Once NSO’s malicious code was

              5      activated, NSO’s malicious servers transmitted additional malware that gave NSO and its customers

              6      remote access to the devices. Id. ¶¶ 39-41. NSO used a network of computers to monitor and update

              7      Pegasus after it was implanted on users’ devices. Id. ¶ 28. These NSO-controlled computers served

              8      as the nerve center through which NSO controlled its customers’ operation and use of Pegasus. Id.

              9               In May 2019, Plaintiffs detected and stopped NSO’s unauthorized access and abuse of the

            10       WhatsApp service and computers. Id. ¶ 44. The attack damaged Plaintiffs’ goodwill and forced them

            11       to incur costs to investigate and prevent NSO’s hacking activities, including updating the WhatsApp

            12       app on users’ devices. Id. ¶¶ 44-45, 57. This suit followed.

            13       III.     ARGUMENT

            14       A.       NSO Has No Valid Claim to Immunity.

            15                       The Foreign Sovereign Immunities Act only applies to foreign states.

            16                NSO’s claim to FSIA immunity, MTD at 8-9, is precluded by the Supreme Court’s decision in

            17       Samantar v. Yousuf, 560 U.S. 305 (2010). Samantar held that the FSIA confers immunity only on a

            18       “foreign state” itself, “as the Act defines that term.” Id. at 325. A “foreign state,” as defined in the

            19       FSIA, does not “include an official acting on behalf of the foreign state,” id. at 319, let alone a private

            20       contractor claiming to act for a foreign state, see Broidy Capital Management LLC v. Muzin, 2020 WL

            21       1536350, at *5 (D.D.C. Mar. 31, 2020) (FSIA inapplicable to consulting firm’s claim for immunity as

            22       Qatari agent); Doğan v. Barak, 932 F.3d 888, 893 & n.4 (9th Cir. 2019) (FSIA immunity “does not

            23       extend” to entities other than “foreign states”). Here, NSO is a for-profit commercial company—

            24       decidedly not a foreign state. See Compl. ¶¶ 1, 5-7, 29. The FSIA has no bearing here.

            25                To avoid this straightforward conclusion, NSO asserts that the allegedly unlawful conduct was

            26       “carried out by sovereign governments.” MTD at 8. But it offers no support for its novel theory that

            27       the FSIA confers immunity on private companies, sued in their own name, when those entities attribute

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 SAN FRA NCI S CO
                                                                                                   CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 13 of 35



              1      their unlawful activity to a foreign sovereign. 2 The FSIA remains inapplicable because this suit asserts

              2      no claims against and seeks no relief from a foreign state. Indeed, even where the FSIA protects an

              3      “agency or instrumentality of a foreign state,” it restricts immunity to entities that are “organ[s]” of

              4      the state or are majority-owned by the state. 28 U.S.C. § 1603(b)(1)-(2); see Dole Food Co. v.

              5      Patrickson, 538 U.S. 468, 474 (2003). NSO qualifies as neither, see Compl. ¶¶ 5-6, and its position

              6      would render those limitations on foreign state corporate immunity superfluous. Cf. Dole, 538 U.S.

              7      at 476-77 (relying on superfluity canon in construing the FSIA).

              8             NSO’s attempt to shift liability to foreign states is further flawed because NSO does not dispute

              9      that it engaged in critical conduct at the heart of the complaint: NSO concedes that it (1) “design[ed],”

            10       manufactured, “market[ed],” sold, “configure[d],” and “deploy[ed]” Pegasus; (2) “assist[ed] with the

            11       training, setup, and installation of the Pegasus technology” and provided “technical support” post-

            12       installation; (3) and, at NSO’s discretion, canceled or suspended customers’ use of Pegasus. MTD at

            13       2-6.3 And while NSO provides no explanation of its precise role in routing malicious code through

            14       Plaintiffs’ servers other than an unadorned denial, MTD at 7, the Complaint specifically and credibly

            15       alleges that NSO was deeply involved in carrying out the attack and claimed ownership of the attack

            16       after WhatsApp stopped it. Compl. ¶¶ 32, 35-39, 42, 45. NSO’s unsupported claim that the FSIA

            17       immunizes all of the conduct at issue thus affords no basis for dismissal.

            18                      No “derivative foreign sovereign immunity” exists.

            19              NSO has no sounder basis for claiming “derivative foreign sovereign immunity” as a private

            20       contractor working for foreign governments. MTD at 9-10. Although such immunity protects certain

            21       contractors working “with the United States,” Campbell-Ewald Co. v. Gomez, 136 S. Ct. 663, 672

            22       (2016) (emphasis added), no court in this Circuit has extended that doctrine to work performed for

            23       foreign sovereigns. Nor should this Court create such federal common law; the foreign context

            24       implicates international comity concerns for the Executive Branch, not courts, to address.

            25
                     2
                       The nature of the victims targeted during the attack, including journalists and attorneys, is not
            26       consistent with the type of government operations NSO claims to support in its motion.
            27       3
                      NSO offers no evidence that the development, testing, or upgrading of Pegasus was commissioned
                     by a foreign state, nor does it dispute that its own use of its product for development purposes is
            28       primarily for commercial advantage over other companies that provide similar services.
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 SAN FRA NCI S CO
                                                                                                  CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 14 of 35



              1             The leap from the domestic to the foreign context is not “small.” MTD at 10. Domestic

              2      “derivative sovereign immunity” reflects that the United States and its agents have “the same interest

              3      in getting the Government’s work done.” Boyle v. United Techs. Corp., 487 U.S. 500, 505 (1988). In

              4      that context, federal courts have created a federal common law rule to protect unique federal interests.

              5      Id. at 504-05. This is one of the rare instances where fashioning federal common law is appropriate.

              6      But foreign sovereign immunity is instead based on international comity, Broidy, 2020 WL 1536350,

              7      at *7, and federal courts have no freewheeling license to fashion common law rules to protect

              8      international relations. Because “the Executive is the sole organ of the federal government in the field

              9      of international relations,” and has the responsibility to account for comity considerations,

            10       Pasquantino v. United States, 544 U.S. 349, 369 (2005) (citation omitted), separation-of-powers

            11       concerns preclude judicial creation of a new derivative sovereign immunity doctrine for contractors

            12       working for foreign sovereigns. See Hernandez v. Mesa, 140 S. Ct. 735, 747 (2020) (cautioning

            13       against “unwarranted judicial interference in the conduct of foreign policy”) (citation omitted).

            14              In determining whether a foreign entity is entitled to immunity, courts therefore confine

            15       themselves to established sources of law. See Doğan, 932 F.3d at 891-93; Broidy, 2020 WL 1536350,

            16       at *6-7. Here, no established law recognizes the novel immunity NSO seeks. 4 Indeed, even common-

            17       law foreign-official immunity requires either a Suggestion of Immunity from the U.S. State

            18       Department, or a judicial determination that the official (by virtue of his position or conduct) possesses

            19       the established prerequisites for immunity.      See Doğan, 932 F.3d at 891-93.           Here, the State

            20       Department has not filed a Suggestion of Immunity. And as a private non-governmental entity, NSO

            21       has no claim by virtue of its position. See Broidy, 2020 WL 1536350, at *5 (“Status-based immunity”

            22       “is unavailable here because the defendants are neither Qatari diplomats nor Qatari heads of state.”).

            23              That leaves only conduct-based foreign-official immunity, which sets a standard NSO cannot

            24       meet. As articulated by the Restatement (Second), a foreign official may have common law immunity

            25       “with respect to acts performed in his official capacity if the effect of exercising jurisdiction would be

            26

            27       4
                       Courts sometimes also consider whether the State Department has an “established policy”
                     recognizing the asserted immunity. See Broidy, 2020 WL 1536350, at *5-6 (citation omitted). NSO
            28       identifies no State Department guidance recognizing immunity for foreign government contractors.
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                                                                                                   CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 15 of 35



              1      to enforce a rule of law against the [foreign] state.” RESTATEMENT (SECOND) OF FOREIGN RELATIONS

              2      LAW § 66(f) (1965); Doğan, 932 F.3d at 893-95. Here, Plaintiffs seek to halt wrongdoing by NSO,

              3      not a foreign state; NSO’s liability rests on its own conduct. And the effect of a judgment in Plaintiffs’

              4      favor would not be to enforce a rule of law against the unidentified foreign states that transacted with

              5      NSO. Specifically, a judgment enjoining NSO from creating accounts with Plaintiffs, accessing their

              6      services, or violating or facilitating violations of their terms of service, see Compl. at 14, would bind

              7      only NSO. And any damages judgment would not be paid from a foreign state’s coffers. Accordingly,

              8      NSO cannot prevail even under the common-law foreign-official immunity framework.

              9             It is thus unsurprising that hardly any authorities (even outside this Circuit) recognize “foreign

            10       derivative sovereign immunity” for private contractors. NSO relies on Butters v. Vance International,

            11       Inc., 225 F.3d 462 (4th Cir. 2000), and its progeny. MTD at 10. But Butters is no longer good law.

            12       Butters is a pre-Samantar decision interpreting the FSIA—not common-law immunity—to confer

            13       immunity on private agents of foreign governments. See 225 F.3d at 464, 466-67; see also Ruddell v.

            14       Triple Canopy, Inc., 2016 WL 4529951, at *7 (E.D. Va. Aug. 29, 2016) (“Butters . . . confronted

            15       a contractor’s immunity claim derived from the [FSIA], not immunity derived from the United States’

            16       common law sovereign immunity”). Samantar has since made clear that the FSIA confers immunity

            17       only on foreign states, see III.A.1, supra, effectively abrogating Butters’ holding.

            18                      NSO cannot satisfy the requirements for the “derivative sovereign immunity”
                                    applicable to certain U.S.-government contractors.
            19
                            Even if foreign-government contractors could invoke the “derivative sovereign immunity”
            20
                     available to U.S.-government contractors, NSO cannot satisfy that doctrine’s requirements.
            21
                            Immunity for U.S.-government contractors, “unlike the sovereign’s, is not absolute.”
            22
                     Campbell-Ewald, 136 S. Ct. at 672. Derivative sovereign immunity “is limited to cases in which a
            23
                     contractor had no discretion in the design process and completely followed government
            24
                     specifications.” Cabalce v. Thomas E. Blanchard & Assocs., Inc., 797 F.3d 720, 732 (9th Cir. 2015)
            25
                     (internal quotations and citation omitted). Where a contractor “had a significant role in the design of
            26
                     the Program” and was not “acting merely and solely as directed by the Government,” Salim v. Mitchell,
            27
                     268 F. Supp. 3d 1132, 1150 (E.D. Wash. 2017) (Salim II)—or where a contractor had “discretion” in
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 SAN FRA NCI S CO
                                                                                                   CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 16 of 35



              1      “administering” the contracted-for program, Novoa v. GEO Grp., Inc., 2018 WL 4057814, at *3 (C.D.

              2      Cal. Aug. 22, 2018)—no derivative sovereign immunity exists.

              3             NSO bears no resemblance to the no-discretion contractor archetype protected by U.S.-

              4      government derivative sovereign immunity, as its own statements confirm. 5 No foreign government

              5      identified a need for NSO’s services, hired NSO, and directed NSO to deliver a product according to

              6      particular specifications and subject to governmental control. Just the opposite: Pegasus was NSO’s

              7      brainchild—conceived, executed, and marketed by NSO. NSO designed Pegasus, promoted and

              8      licensed Pegasus to multiple parties, and trained those customers to use Pegasus. Compl. ¶¶ 1, 24, 26-

              9      27, 29. Even if foreign sovereigns identified which users to target, NSO determined the parameters

            10       and operation of the Pegasus technology—including by providing technical support and continuously

            11       monitoring customers for compliance with NSO’s terms. Id. ¶¶ 28-29. Courts in this Circuit routinely

            12       reject claims of derivative sovereign immunity on analogous facts. See, e.g., Cabalce, 797 F.3d at 732

            13       (denying immunity where contractor “designed the destruction plan” for seized fireworks “without

            14       government control or supervision”); Salim II, 268 F. Supp. 3d at 1148 (no immunity when contractors

            15       did not “act[] specifically at the direction of the Government, but rather . . . designed and implemented”

            16       a program as “architects” who then “trained” CIA personnel); Washington v. GEO Grp., Inc., 2019

            17       WL 3565105, at *5 (W.D. Wash. Aug. 6, 2019) (denying immunity because contractor failed to show

            18       it had “no discretion in the design process and completely followed government specifications”).

            19              4.      NSO’s “extrinsic evidence” cannot save its immunity defense.

            20              Although NSO’s immunity claims have no legal basis and should be dismissed outright, at a

            21       minimum, NSO wrongly relies on extrinsic evidence to press those claims.                MTD at 8-10 &

            22       n.7. Derivative sovereign immunity is not a jurisdictional doctrine. E.g., Adkisson v. Jacobs Eng’g

            23
                     5
                       See MTD at 2 (NSO “design[ed] and market[ed]” its technology to governments); id. at 3-4 (“NSO
            24       has voluntarily undertaken additional steps” to monitor the use of Pegasus, and NSO “contractually
                     can suspend—and ha[s] suspended, and would terminate—service to customers engaged in any
            25       improper use of NSO’s Pegasus technology”); id. at 3-4 (“NSO requires its customers” to agree to use
            26       NSO technology for specified purposes and to “immediately notify NSO of any potential misuse”);
                     see also Compl., Ex. 10 (NSO’s Pegasus Manual) at 55 (“NSO is responsible to deploy and configure
            27       the Pegasus hardware and software at the customer premises”); id. at 58 (“[a]ll the necessary hardware
                     is supplied with the system upon deployment”); id. at 61 (“[NSO] [is] responsible for the system setup
            28       and training before its hand-over to the customer”).
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 SAN FRA NCI S CO
                                                                                                   CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 17 of 35



              1      Grp., Inc., 790 F.3d 641, 645 (6th Cir. 2015); accord Gomez v. Campbell-Ewald Co., 768 F.3d 871,

              2      874, 879-82 (9th Cir. 2014), aff’d, 136 S. Ct. 663 (2016). And even if it were, “[w]here jurisdiction

              3      is intertwined with the merits”—as it is here, where NSO’s twin defenses hinge on the identity of its

              4      customers and the services it provided—“the truth of the [complaint’s] allegations” must be assumed

              5      “unless controverted by undisputed facts in the record.” Warren v. Fox Family Worldwide, Inc., 328

              6      F.3d 1136, 1139 (9th Cir. 2003) (citation omitted). Accordingly, the allegations in Plaintiffs’

              7      Complaint control. Moore v. McAleenan, 2019 WL 2870079, at *2 (D. Alaska July 3, 2019).

              8             Beyond that, NSO’s factual showing does not come close to supporting an attack on

              9      jurisdiction. The Complaint alleges targeting of 1,400 separate devices, Compl. ¶ 42, and NSO does

            10       not specify who it was working for in each attack. Instead, NSO relies on a conclusory declaration

            11       from its CEO Shalev Hulio stating that “NSO markets and licenses its Pegasus technology exclusively

            12       to sovereign governments and authorized agencies,” and those sovereigns—not NSO—“operate [the]

            13       Pegasus technology.” Hulio Decl. ¶¶ 9, 14-15. But Hulio fails to identify any specific foreign

            14       sovereign for whom NSO worked—let alone cite a single contract or any evidence establishing NSO’s

            15       purportedly limited operational role. That factual showing is plainly insufficient.

            16              Finally, before any fact-based immunity defense could be entertained, Plaintiffs would be

            17       entitled to discovery. See Laub v. U.S. Dep’t of Interior, 342 F.3d 1080, 1093 (9th Cir. 2003)

            18       (discovery appropriate when “jurisdictional facts are contested or more facts are needed” to determine

            19       jurisdiction). All information relating to NSO’s customers and NSO’s services is in NSO’s

            20       possession. Absent discovery on these subjects, NSO’s motion cannot be granted. See id. (reversing

            21       denial of jurisdictional discovery where plaintiff sought “detailed accounting of all [defendant’s]

            22       transactions”); Salim v. Mitchell, 183 F. Supp. 3d 1121, 1130-31 (E.D. Wash. 2016) (“Salim I”)

            23       (denying motion to dismiss that asserted “derivative sovereign immunity” defense because “no

            24       discovery has been conducted”); Novoa, 2018 WL 4057814, at *3 (same). 6

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                     6
                       NSO’s passing reference to the act of state doctrine also fails. MTD at 10-11 & n.12. NSO concedes
            26       that this argument is not ripe for decision, id., and it also lacks merit. NSO is alleged to have engaged
                     in unlawful hacking and breach of contract, and proving those violations does not require the Court to
            27       rule on the validity of the act of any foreign sovereign. W.S. Kirkpatrick & Co. v. Envtl. Tectonics
                     Corp, Int’l, 493 U.S. 400, 409-10 (1990). Further, gaining unauthorized access to WhatsApp’s servers
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 SAN FRA NCI S CO
                                                                                                  CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 18 of 35



              1      B.      The Complaint Does Not Fail to Join a Required Party.

              2              NSO is wrong to contend that the Complaint must be dismissed because Plaintiffs did not join

              3      NSO’s foreign-sovereign customers. MTD at 18-19. NSO’s customers are not “required part[ies]”

              4      under Rule 19(a), and even if they were, considerations of “equity and good conscience” evaluated

              5      under Rule 19(b) require the action to “proceed among the existing parties.” Fed. R. Civ. P. 19; see

              6      Fed. R. Civ. P. 12(b)(7).

              7              NSO argues that under Rule 19(a)(1)(A) “the court cannot accord complete relief among

              8      existing parties” without NSO’s foreign-sovereign clients. But this suit seeks to enjoin wrongdoing

              9      by NSO—not any other actor. An order enjoining NSO from, inter alia, accessing or attempting to

            10       access Plaintiffs’ systems, or violating or facilitating violations of Plaintiffs’ terms of service, will

            11       afford Plaintiffs “complete relief.” NSO’s allusion (MTD at 19) to hypothetical relief against

            12       sovereign clients, not sought by Plaintiffs, is irrelevant—Rule 19(a)(1)(A) “is concerned only with

            13       relief as between the persons already parties, not as between a party and the absent person.” Eldredge

            14       v. Carpenters 46 N. Cal. Ctys. Joint Apprenticeship & Training Comm., 662 F.2d 534, 537 (9th Cir.

            15       1981) (internal quotations and citation omitted). Nor can NSO rely on “possible future conduct” by

            16       third-party sovereigns that might “frustrate the remedial purposes of [a] court-order[]” enjoining NSO

            17       in order to “avoid [its] own liability for [illegal] practices.” Id.

            18               NSO incorrectly suggests that an injunction restraining it “and all other persons acting in

            19       concert with or conspiracy with” it must include foreign sovereigns. Compl. at 14. Such language is

            20       “standard boilerplate drawn from Rule 65 describing the ‘persons bound’ by ‘every injunction.’”

            21       E.E.O.C. v. Peabody W. Coal Co., 610 F.3d 1070, 1080 (9th Cir. 2010) (quoting Fed. R. Civ. P. 65).

            22       The “better reading” is that the language does not seek “injunctive relief against” an immune

            23       sovereign. Id.; see In re Estate of Ferdinand Marcos Human Rights Litig., 94 F.3d 539, 545-46 (9th

            24       Cir. 1996). But even if NSO’s reading were correct, “the proper response . . . would . . . be[] simply

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            26
                     located in the United States could never be considered an “act of state.” That doctrine bars
            27       adjudicating only the sovereign acts of a foreign government done “within its own territory.” Id.
                     Courts are free to “judge the legality and propriety of an act that occurred within the borders of the
            28       United States.” Liu v. Republic of China, 892 F.2d 1419, 1433 (9th Cir. 1989).
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 SAN FRA NCI S CO
                                                                                                       CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 19 of 35



              1      to deny [the] request for injunctive relief” against a sovereign, “shap[e] the relief” sought under Rule

              2      19(b)(2)(B), or permit Plaintiffs leave to amend under Rule 15. Peabody, 610 F.3d at 1077, 1080.

              3             Finally, even if NSO’s sovereign clients were “required parties” under Rule 19(a), Rule 19(b)

              4      dismissal is unwarranted. NSO argues that this action would “prejudice [its] customers” by “ignoring

              5      their sovereign status.” MTD at 19 (citation omitted). But the rule for foreign sovereigns is not

              6      categorical; rather, the inquiry turns on multiple “factors varying with the different cases.” Republic

              7      of Phil. v. Pimentel, 553 U.S. 851, 863 (2008) (citation omitted). An action should continue without

              8      a required sovereign where considerations of “equity and good conscience” weigh against the severe

              9      remedy of dismissal. Id. at 862-63 (quoting Rule 19(b)). That is true here: If NSO is liable for the

            10       violations alleged, it cannot remain free to abuse Plaintiffs’ systems and victimize Plaintiffs’ users by

            11       hiding behind the actions of absent sovereign clients that can pursue their own interests. 7

            12       C.     The Court Has Personal Jurisdiction Over NSO.

            13              Personal jurisdiction over NSO exists for two independent reasons: NSO (1) consented to

            14       jurisdiction by accepting WhatsApp’s Terms; and (2) directed its conduct at California. Plaintiffs need

            15       only identify “facts that if true would support jurisdiction” to defeat a Rule 12(b)(2) dismissal. Mavrix

            16       Photo, Inc. v. Brand Techs., Inc., 647 F.3d 1218, 1223 (9th Cir. 2011); Ballard v. Savage, 65 F.3d

            17       1495, 1498 (9th Cir. 1995).8 Plaintiffs have made this showing.

            18                      NSO consented to this Court’s jurisdiction.

            19              By agreeing to WhatsApp’s Terms, which include a forum selection clause designating this

            20       Court, NSO “consented to personal jurisdiction.” Automattic, Inc. v. Steiner, 82 F. Supp. 3d 1011,

            21       1022 (N.D. Cal. 2015) (Hamilton, J.) (citation omitted); Craigslist, Inc. v, Naturemarket, Inc., 694 F.

            22       Supp. 2d 1039, 1052 (N.D. Cal. 2010) (Hamilton, J.) (defendants consented to jurisdiction by

            23       “agree[ing] to the TOUs as a condition to accessing Plaintiff’s website”). Such forum selection clauses

            24       are “prima facie valid” and are “enforceable absent a strong showing” by the opposing party that the

            25
                     7
                      NSO’s suggestion that it will be hampered in obtaining discovery needed for its defense, MTD at 19
            26       n.18, is unfounded. NSO can prove its own conduct without relying on others’ evidence.
            27       8
                       Under Rule 12(b)(2), the Court takes Plaintiffs’ “uncontroverted allegations in the complaint” as
                     true, Mavrix, 647 F.3d at 1223, and resolves conflicts “over statements contained in affidavits” in
            28       “[P]laintiff[s’] favor,” Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797, 800 (9th Cir. 2004).
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 SAN FRA NCI S CO
                                                                                                  CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 20 of 35



              1      clause is invalid or its enforcement would otherwise be “unreasonable or unjust.” Manetti-Farrow,

              2      Inc. v. Gucci Am., Inc., 858 F.2d 509, 514 (9th Cir. 1988) (citation omitted).

              3             The WhatsApp Terms applicable to NSO contained a “Dispute resolution” section with the

              4      following forum selection clause and choice of law provision:

              5             If you are not subject to the “Special Arbitration Provision for United States or Canada
                            Users” section below, you agree that you will resolve any Claim you have with us
              6             relating to, arising out of, or in any way in connection with our Terms, us, or our
                            Services (each, a “Dispute,” and together, “Disputes”) exclusively in the United
              7             States District Court for the Northern District of California or a state court located in
              8             San Mateo County in California, and you agree to submit to the personal jurisdiction
                            of such courts for the purpose of litigating all such Disputes.
              9
                            Governing Law: The laws of the State of California govern our Terms, as well as any
            10              Disputes, whether in court or arbitration, which might arise between WhatsApp and
                            you, without regard to conflict of law provisions.
            11

            12       Duffy Decl. ¶¶ 4, 6, Ex. 1 (emphasis added). The arbitration provision referenced in the forum
            13       selection clause states that arbitration applies to “all disputes” that involve U.S. or Canadian users,
            14       with the exception of a subset of actions. Id.
            15              NSO does not deny that it accepted WhatsApp’s Terms or that the forum selection clause is
            16       enforceable. See MTD at 11-12. Instead, NSO wrongly urges the Court to interpret the term “Dispute”
            17       to apply only to users’ claims against WhatsApp, and not vice versa. See MTD at 11-12. That reading
            18       ignores the plain meaning of the forum selection clause, as this suit involves a Dispute that NSO “ha[s]
            19       with [WhatsApp]”—i.e., a dispute between NSO and WhatsApp.
            20              NSO’s one-sided reading of the term “Dispute” in the forum selection clause is likewise
            21       inconsistent with the use of the same term in the choice-of-law and arbitration provisions. “[E]ach
            22       clause” of the Terms “help[s] to interpret the other.” Cal. Civ. Code § 1641; see Principal Mut. Life
            23       Ins. Co. v. Vars, Pave, McCord & Freedman, 65 Cal. App. 4th 1469, 1478 (1998) (“[W]ords used in
            24       a certain sense in one part of a contract are deemed to have been used in the same sense elsewhere.”)
            25       The choice-of-law provision makes clear that the term “Dispute” applies to all actions between users
            26       and WhatsApp, providing that California law “govern[s] [WhatsApp’s] Terms, as well as any Disputes
            27       . . . which might arise between WhatsApp and you.” See Duffy Decl. ¶¶ 4, 6, Ex. 1. And the arbitration
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 SAN FRA NCI S CO
                                                                                                 CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 21 of 35



              1      provision uses “dispute” the same way, applying to “all disputes” whether WhatsApp or the user

              2      initiates them. Based on the consistent meaning of “Dispute” as used throughout the Terms, NSO

              3      consented to this Court’s exercise of personal jurisdiction. See Craigslist, 649 F. Supp. 2d at 1052.

              4                      Alternatively, NSO’s contacts with California establish specific jurisdiction.

              5              Specific jurisdiction over a defendant exists when (1) the defendant “purposefully avail[ed]”

              6      itself of the forum’s benefits regarding a contract claim or “purposefully direct[ed]” its activities at the

              7      forum with respect to a tort claim; (2) the plaintiff’s claims “arise[] out of or relate[] to” those “forum-

              8      related activities”; and (3) the exercise of jurisdiction is consistent with fair play and substantial justice.

              9      See Dole Food Co. v. Watts, 303 F.3d 1104, 1111 (9th Cir. 2002). Here, specific jurisdiction exists

            10       because Plaintiffs have established the first two prongs, and NSO has not “present[ed] a compelling

            11       case that the exercise of jurisdiction . . . would be unreasonable.” Id. at 1117 (citation omitted).

            12                       a.      NSO purposefully availed itself of California’s benefits.

            13               NSO contends that it did not purposefully avail itself of California’s benefits because it has not

            14       engaged in in-forum conduct. MTD at 16. To the contrary, NSO “deliberately [] engaged in

            15       significant activities” and created “continuing obligations” in California, receiving “manifold

            16       benefits.” See Burger King Corp. v. Rudzewicz, 471 U.S. 462, 475-76, 480 (1985). NSO: (1)

            17       contracted with California-based WhatsApp and agreed that California law governed; (2) committed

            18       to perform under WhatsApp’s Terms; and (3) benefited from business activities directed at California.

            19               First, NSO concedes that it contracted with WhatsApp and agreed to WhatsApp’s Terms with

            20       a California choice-of-law clause when creating user accounts; indeed, NSO does not dispute that

            21       Plaintiffs have stated a claim for breach of those Terms. See Compl. ¶¶ 19, 30-31, 67-73; MTD at 7-

            22       8, 11. Contracting under California law shows that a defendant “chose[] to avail itself of the benefits

            23       and protections of California’s laws.” Google, Inc. v. Eolas Techs. Inc., 2014 WL 2916621, at *3

            24       (N.D. Cal. June 24, 2014) (finding personal jurisdiction).               This is particularly true where

            25       “sophisticated” entities, like NSO, agree to a choice-of-law clause. Facebook, Inc. v. Rankwave Co.,

            26       No. 19-3738, at *8-9 (N.D. Cal. Nov. 14, 2019) (ECF No. 34); see Burger King, 471 U.S. at 481-82.

            27               Second, NSO committed to perform continuously under the Terms, including by complying

            28       with WhatsApp’s policies for ongoing use of the platform. See Compl. ¶¶ 20-22 (Terms require users,
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 SAN FRA NCI S CO
                                                                                                      CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 22 of 35



              1      e.g., not to “send . . . harmful computer code through or onto our Services[.]”). The “continuous course

              2      of dealing” under a contract governed by California law supports a finding of “purposeful availment.”

              3      Facebook, No. 19-3738, at *8-10 (finding jurisdiction where foreign defendant agreed to plaintiff’s

              4      Terms, including a California choice-of-law clause, as a condition of accessing plaintiff’s data).

              5             Third, NSO engaged in significant activities directed at California. NSO developed Pegasus

              6      using financing from a California-based private equity firm.9 NSO also intentionally exploited

              7      WhatsApp’s California-based infrastructure to develop its product and deliver malware to Target

              8      Devices. See Compl. ¶¶ 5, 11, 27-29, 34-40, 60-62; see also Exs. 4, 10 (advertising the surveillance

              9      capability of NSO’s technology); MTD at 5 (admitting use and exploitation of WhatsApp’s platform).

            10              Additionally, to execute its scheme and install its spyware on WhatsApp users’ devices, NSO

            11       separately entered into a contract with a California-based technology company, QuadraNet, that

            12       included a California choice-of-law clause. Compl. ¶ 34; Gheorghe Decl. ¶¶ 3-5; LeBlanc Decl. ¶¶ 2-

            13       3, Exs. 1, 2; Mornin Decl. ¶¶ 2-4, Exs. 1-5. NSO used QuadraNet’s California-based server more than

            14       700 times during the attack to direct NSO’s malware to WhatsApp user devices in April and May

            15       2019. Gheorghe Decl. ¶ 4; Mornin Decl. ¶¶ 2-4, Exs. 1-5; Compl. ¶ 34. And NSO knew or should

            16       have known the QuadraNet server was in California. Id.; Panavision Intl., L.P. v. Toeppen, 141 F.3d

            17       1316, 1322 (9th Cir. 1998) (purposeful availment established because defendant was “likely” to know

            18       his conduct “had the effect of injuring” plaintiff “in California”). Tellingly, NSO does not deny that

            19       it contracted with QuadraNet, or that the QuadraNet server was used in the attack. See MTD at 14.

            20              NSO’s contacts with California, taken together, show that NSO purposefully availed itself of

            21       the forum’s benefits. See CompuServe, Inc. v. Patterson, 89 F.3d 1257, 1264 (6th Cir. 1996) (specific

            22       jurisdiction where defendant contracted with in-forum plaintiff, including a forum state choice-of-law

            23       clause, and used plaintiff’s server infrastructure); Panavision, 141 F.3d at 1321 (discussing

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                     9
                       NSO submits no evidence that this financing was not used to build Pegasus, and NSO’s conclusory
            25       assertion that the financing is irrelevant (MTD at 16) fails on a Rule 12(b)(2) challenge. Rio Props.,
                     Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1019 (9th Cir. 2002); see Compl. ¶ 33, Ex. 4 (indicating that
            26       NSO created Pegasus while funded by a California firm). NSO issued “major upgrades” to Pegasus
                     annually—and no evidence shows that this stopped from 2014 to February 2019, when a California
            27       firm owned 70 percent of NSO’s business. See Compl., Ex. 10 at 64; fastcompany.com/90307864/u-
                     s-fund-sells-israeli-hacking-firm-nso-group-amid-spy-mystery.
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ATTO RNEY S AT LAW                                                    13               PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
 SAN FRA NCI S CO
                                                                                                  CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 23 of 35



              1      CompuServe with approval); Summit Entm’t, LLC v. Santia, 2014 WL 12577430, at *3 (C.D. Cal. June

              2      24, 2014) (purposeful availment met based on knowing use of California servers to commit breach). 10

              3                     b.      NSO purposefully directed its conduct at California.

              4             A defendant purposefully directs its activities at California if it (1) commits an intentional act

              5      (2) expressly aimed at California (3) that causes harm it knows will likely be suffered here. See Axiom

              6      Foods, Inc. v. Acerchem Int’l, Inc., 874 F.3d 1064, 1069 (9th Cir. 2017). Here, NSO purposefully

              7      directed its conduct to California: it marketed its ability to compromise California-based WhatsApp’s

              8      security and used reverse-engineered WhatsApp technology and QuadraNet’s California-based

              9      servers to hijack WhatsApp’s servers, including in California, to distribute malware. Compl. ¶¶ 34-

            10       39, 60-62 & Ex. 10; Gheorghe Decl. ¶¶ 3-4; Mornin Decl. ¶¶ 2-6, Exs. 1-9. That satisfies Axiom.

            11              The intentional-act element is beyond dispute. Plaintiffs allege that NSO violated California’s

            12       Computer Data Access and Fraud Act (“CDAFA”) by “knowingly” and “willfully” targeting

            13       WhatsApp’s systems to disseminate malware. See Compl. ¶¶ 60-61, 64, 66; see also MTD at 2 & n.1;

            14       NetApp, Inc. v. Nimble Storage, Inc., 41 F. Supp. 3d 816, 826 (N.D. Cal. 2014) (exercising jurisdiction

            15       over foreign defendant who “had reason to know” that he was accessing plaintiff’s “computer systems

            16       in California” through his affirmative acts directed towards the forum state). Indeed, NSO’s product

            17       description of Pegasus specifically mentions WhatsApp and Facebook. Compl. ¶ 24, Ex. 10 at 33.

            18       NSO’s willful targeting of WhatsApp’s infrastructure suffices. See Panavision, 141 F.3d at 1321.

            19       Likewise, the harm element also exists: NSO’s acts caused harm NSO knew would likely be suffered

            20       in California, Plaintiffs’ principal place of business. See id.; see also Dole, 303 F.3d at 1113-14.

            21              NSO appears to challenge only the express-aiming element, arguing that it did not target its

            22       conduct at California.11 See MTD at 14-15. But NSO’s actions aimed at, and caused effects in,

            23
                     10
                       Contrary to NSO’s assertion (MTD at 16), Boschetto v. Hansing, 539 F.3d 1011 (9th Cir. 2008) and
            24       Picot v. Weston, 780 F.3d 1206 (9th Cir. 2015), are consistent with finding specific jurisdiction here.
                     See Boschetto, 539 F.3d at 1019 (specific jurisdiction appropriate where (as here) a non-forum
            25       defendant contracts with forum plaintiff, then uses plaintiff’s platform as “vehicle for commercial
                     activity”); Picot, 780 F.3d at 1212 (no purposeful availment where, unlike here, parties contracted
            26       wholly in non-forum state and only plaintiff took significant in-forum actions under contract).
                     11
            27         NSO renews its improper contention that foreign governments (not NSO) committed the attacks.
                     See MTD at 14. The Court cannot accept that contention at the pleading stage. See Section III.A.1,
            28
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 SAN FRA NCI S CO
                                                                                                  CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 24 of 35



              1      California: its attacks targeted a California-based company and used WhatsApp’s and QuadraNet’s

              2      California-based servers. See Section II, supra. Such allegations satisfy the purposeful direction test.

              3      See, e.g., Synopsys, Inc. v. Ubiquiti Networks, Inc., 2017 WL 3485881, at *24-25 (N.D. Cal. Aug. 15,

              4      2017) (test met where defendant contracted with California company to access files via California

              5      servers to harm California-based company); Craigslist, 694 F. Supp. 2d at 1053 (same, where

              6      defendants knowingly used California plaintiff’s website to sell services to enable users to bypass

              7      plaintiff’s website’s security measures, in violation of plaintiff’s terms of service); Seattle Sperm Bank,

              8      LLC v. Cryobank Am., LLC, 2018 WL 3769803, at *2 (W.D. Wash. Aug. 9, 2018) (same, where

              9      defendant used in-forum server to misappropriate information belonging to in-forum company).

            10              NSO errs in suggesting that it is irrelevant that Plaintiffs’ servers are located in California.

            11       MTD at 14. NSO’s cases hold only that purposeful direction is not shown solely by a defendant’s

            12       incidental access to third-party servers in the forum state. Rosen v. Terapeak, Inc., 2015 WL

            13       12724071, at *9 (C.D. Cal. Apr. 28, 2015); Hungerstation LLC v. Fast Choice LLC, 2020 WL 137160,

            14       at *4-5 (N.D. Cal. Jan. 13, 2020). Here, in contrast, NSO intentionally targeted and exploited

            15       WhatsApp’s California-based infrastructure; heavily marketed its ability to do so through a U.S.-based

            16       advertising arm, knowing this would damage WhatsApp; and contracted with California-based

            17       QuadraNet to lease and knowingly use its California servers to carry out the attack on WhatsApp and

            18       its users. Compl. ¶¶ 11, 60-62; see MTD at 2 n.1. Taken together, these actions underscore that

            19       California is “the focal point” of both the conduct and the harm suffered. Axiom Foods, Inc., 874 F.3d

            20       at 1071; see DEX Sys., Inc. v. Deutsche Post AG, 727 F. App’x 276, 278 (9th Cir. 2018) (specific

            21       jurisdiction is often proper where defendants improperly exploit a plaintiff’s in-forum servers).

            22              Indeed, while NSO relies on Axiom and Walden v. Fiore, 571 U.S. 277 (2014), MTD at 13-14,

            23       those cases demonstrate that a defendant’s international targeting of the forum state is relevant and,

            24       when coupled with injuries that the defendant knows are likely to be felt within the forum, will suffice

            25       to establish purposeful direction. Axiom, 874 F.3d at 1070-71; Walden, 571 U.S. at 287-88. That is

            26
                     supra. That is particularly true where NSO’s own description of its Pegasus software shows that it is
            27       NSO’s software that accomplishes the attack: customers need “only insert the target phone number”
                     and “[t]he rest is done automatically by [NSO’s] system.” Compl., Ex. 10 at 13. NSO does not dispute
            28       that Exhibit 10 is accurate; indeed, NSO invokes that exhibit itself. See MTD at 2 n.1.
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ATTO RNEY S AT LAW                                                     15               PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
 SAN FRA NCI S CO
                                                                                                   CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 25 of 35



              1      the situation here. See, e.g., Panavision, 141 F.3d at 1322; Facebook, Inc. v. ConnectU LLC, 2007

              2      WL 2326090, at *2, *5-6 (N.D. Cal. Aug. 13, 2007) (purposeful direction where defendant’s software

              3      used falsified login information to access Facebook and improperly export other users’ information).

              4                     c.      This suit arises from NSO’s contacts with California.

              5             All of Plaintiffs’ claims and related injuries—including their CDAFA and breach of contract

              6      claims, which NSO does not move to dismiss—arise from NSO’s creation of WhatsApp accounts,

              7      related agreement to the WhatsApp Terms, and misuse of WhatsApp’s and QuadraNet’s California-

              8      based infrastructure. See Compl. ¶¶ 11, 35-39, 60-62. That is sufficient. In re W. States Wholesale

              9      Nat. Gas Antitrust Litig., 715 F.3d 716, 742 (9th Cir. 2013) (direct nexus satisfies test).

            10                      d.      Exercising jurisdiction here is reasonable.

            11              NSO has not made a “compelling case” that the exercise of jurisdiction would be unreasonable.

            12       CollegeSource v. AcademyOne, 653 F.3d 1066, 1079 (9th Cir. 2011). The reasonableness factors, far

            13       from tipping “sharply” towards NSO, id., weigh strongly in favor of personal jurisdiction.

            14              First, Defendants are wrong that their “purposeful interjection” into California’s affairs is

            15       “negligible at best.” See MTD at 17. Instead, this factor favors Plaintiffs based on the purposeful

            16       availment showing. See Section III.C.2.a, supra; Roth v. Garcia Marquez, 942 F.2d 617, 623 (9th Cir.

            17       1991) (purposeful interjection redundant of purposeful availment test).

            18              Second, the supposed burden an Israeli company faces litigating in California (MTD at 17-18)

            19       is not dispositive. Dole, 303 F.3d at 1115. NSO ignores its U.S. ties,12 and that “the Supreme Court

            20       has preferred nonjurisdictional methods of lessening the inconvenience faced by defendants.” Sinatra

            21       v. Nat’l Enquirer, Inc., 854 F.2d 1191, 1199 (9th Cir. 1988) (citing, inter alia, Burger King, 471 U.S.

            22       at 477-78). Plaintiffs would be burdened if forced to litigate in Israel, when their witnesses and

            23       evidence are concentrated in California. And it is most efficient to litigate in California, given that

            24       California is both the place where Plaintiffs’ injury occurred and the forum whose law will be applied.

            25       Raffaele v. Compagnie Generale Mar., 707 F.2d 395, 399 (9th Cir. 1983).

            26
                     12
                        NSO fails to acknowledge that it owns a U.S.-based marketing and sales arm that engaged in lengthy
            27       sales discussions with the U.S. Drug Enforcement Administration, Compl. ¶ 5, Exs. 2, 3; that its co-
                     founder, who is a member of its board, lives in the United States, ECF No. 20-3 ¶ 14, Ex. 12; and that
            28       it was funded by a San Francisco-based equity firm until February 2019, Comp. ¶ 5 & Ex. 4.
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ATTO RNEY S AT LAW                                                     16              PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
 SAN FRA NCI S CO
                                                                                                  CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 26 of 35



              1             Third, NSO asserts that exercising jurisdiction over it would “conflict[] with Israel’s

              2      sovereignty” due to NSO’s claimed lack of California operations. See MTD at 17. But NSO is neither

              3      a sovereign nor immune from the Court’s exercise of jurisdiction.              Nor is NSO’s nationality

              4      dispositive: “if given controlling weight, it would always prevent suit against a foreign national in a

              5      United States court.” See Sinatra, 854 F.2d at 1199 (discounting defendant’s attempt to invoke this

              6      factor where defendant had benefited from engagement with the U.S. market).

              7             Fourth, NSO does not seriously dispute California’s and Plaintiffs’ interests in a California-

              8      based resolution of Plaintiffs’ claims. See MTD at 17-18. California has a “strong interest” in

              9      providing residents with “effective means of redress.” Sinatra, 854 F.2d at 1200. And Plaintiffs’

            10       claims are concededly governed by federal and California law. Compl. ¶¶ 49-78; MTD at 20-25. A

            11       California-based court is better positioned to apply these laws than an Israeli court.

            12              Finally, NSO is incorrect (MTD at 18) that Plaintiffs bear the burden to show that Israel is

            13       inadequate as an alternative forum. See, e.g., Ballard, 65 F.3d at 1502 (construing factor against

            14       defendant who “present[ed] absolutely no evidence on this issue, erroneously assuming that the burden

            15       [was] on [plaintiff]” to show no alternate forum). NSO has offered no evidence on this point, arguing

            16       only that Plaintiffs were sued by NSO’s employees in Israel. See MTD at 18. NSO does not explain

            17       how this makes Israel an adequate forum to litigate Plaintiffs’ U.S.-law based claims. And of course,

            18       NSO does not (and cannot) assert that California is an inadequate forum to hear Plaintiffs’ claims.

            19              Thus, the balance of the reasonableness factors favors Plaintiffs. And since Plaintiffs have

            20       satisfied each prong of the analysis, the Court has specific jurisdiction over NSO.

            21                      This Court has jurisdiction under Rule 4(k)(2).

            22              Even if specific jurisdiction were lacking, NSO would still be subject to personal jurisdiction

            23       under Federal Rule of Civil Procedure 4(k)(2) because (1) Plaintiffs’ CFAA claim arises under federal

            24       law; (2) NSO would not be subject to jurisdiction in any state; and (3) exercising jurisdiction comports

            25       with due process. See Hydentra HLP Int’l v. Sagan Ltd., 783 F. App’x 663, 665 (9th Cir. 2019).

            26              Here, Plaintiffs assert claims under federal law.         And NSO, in resisting jurisdiction in

            27       California, has not “alleged that it is subject to the courts of general jurisdiction in any state.” Holland

            28       Am. Line Inc. v. Wartsila N. Am., Inc., 485 F.3d 450, 461 (9th Cir. 2007) (a court may exercise
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 SAN FRA NCI S CO
                                                                                                    CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 27 of 35



              1      jurisdiction over Rule 4(k)(2) if “the defendant contends that [it] cannot be sued in the forum state and

              2      refuses to identify any other where suit is possible”) (citation omitted). Indeed, the logic of NSO’s

              3      argument is that no state would have personal jurisdiction if California does not. See MTD at 17-18.

              4             Critically, NSO’s contacts with the U.S. make it fair for NSO to litigate here. See Axiom, 874

              5      F.3d at 1072 (Rule 4(k)(2) analysis “is nearly identical to traditional personal jurisdiction analysis”);

              6      Hydentra, 783 F. App’x at 665 (applying specific jurisdiction analysis to hold that Rule 4(k)(2) was

              7      met). NSO’s contacts with the United States were substantial, intentional, and essential to the success

              8      of the violations that the Complaint alleges.

              9             Numerous facts support that conclusion. NSO extensively used U.S.-based computer servers

            10       in the challenged attacks. See Compl. ¶ 34; see also Gheorghe Decl. ¶¶ 3-5; Mornin Decl. ¶¶ 2-6, Exs.

            11       1-9; Micron Tech., Inc. v. United Microelectronics Corp., 2019 WL 1959487, at *3 (N.D. Cal. May

            12       2, 2019) (finding Rule 4(k)(2) jurisdiction where defendant used U.S.-based servers).                NSO

            13       “knowingly and with intent to defraud” accessed Plaintiffs’ computers and infrastructure in the United

            14       States to distribute its malware. See Compl. ¶ 54; see generally Facebook, 2007 WL 2326090 at *2,

            15       *5-6. NSO exploited U.S. financial and commercial markets by relying on a subsidiary marketing

            16       arm based and incorporated in the United States and by financing its product via U.S. backers. See

            17       Compl. ¶ 5, Exs. 2, 3. One of NSO’s board members lives in the United States. ECF No. 20-3 ¶ 14,

            18       Ex. 12. And NSO’s conduct foreseeably caused harm in the United States: WhatsApp, a U.S.

            19       company, expended significant engineering resources in the United States to investigate and remediate

            20       the attack, including updating the WhatsApp app so that approximately 56.6 million users could

            21       download an update to protect the app from NSO’s attack. Gheorge Decl. ¶ 2; Nguyen Decl. ¶ 3;

            22       Compl. ¶ 44. The totality of NSO’s U.S.-directed conduct establishes that, “but for [its] forum-related

            23       conduct, the injury would not have occurred.” Craigslist, 694 F. Supp. 2d at 1053 (citation omitted).

            24              Lastly, NSO has made no showing (let alone a compelling one) that requiring it to litigate in

            25       the U.S. is unfair. See Section III.C.2.d. Thus, personal jurisdiction is appropriate under Rule 4(k)(2).

            26                      This Court should exercise pendent jurisdiction.

            27              If the Court finds jurisdiction over some, but not all, of Plaintiffs’ claims, it should exercise

            28       pendent jurisdiction over the remaining claims, which arise “out of a common nucleus of operative
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ATTO RNEY S AT LAW                                                    18               PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
 SAN FRA NCI S CO
                                                                                                  CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 28 of 35



              1      facts.” See Action Embroidery Corp. v. Atl. Embroidery, Inc., 368 F.3d 1174, 1180 (9th Cir. 2004).

              2      Because NSO’s unauthorized use of WhatsApp’s computer infrastructure to send malicious code to

              3      WhatsApp users in violation of WhatsApp’s Terms underpins each of Plaintiffs’ claims, this Court

              4      should exercise pendent jurisdiction over the remaining claims. See, e.g., Compl. ¶¶ 49-78; CE

              5      Distribution, LLC v. New Sensor Corp., 380 F.3d 1107, 1113 (9th Cir. 2004) (exercising pendent

              6      jurisdiction over contract claims where personal jurisdiction existed for related tort claims). 13

              7      D.     The Complaint Validly Alleges Violations Of Federal And State Law.

              8                     Plaintiffs state a claim for a violation of the CFAA.

              9             The Complaint alleges that NSO violated Sections 1030(a)(2), (a)(4), and (b) of the CFAA

            10       because it accessed and conspired to access, without authorization, Plaintiffs’ servers and WhatsApp

            11       users’ devices. Compl. ¶¶ 49-57. As detailed below, NSO circumvented WhatsApp technical

            12       restrictions in order to access and use the servers, which constitutes unauthorized access under the

            13       CFAA. Id. ¶¶ 32, 35-39. Because NSO’s actions caused Plaintiffs to incur a loss as defined by Section

            14       1030(e)(11), the CFAA authorizes Plaintiffs to pursue civil remedies. See Theofel v. Farey-Jones, 359

            15       F.3d 1066, 1078 (9th Cir. 2003) (“The civil remedy extends to ‘[a]ny person who suffers damage or

            16       loss by reason of a violation of this section.’”) (quoting 18 U.S.C. 1030(g)).

            17                      a.      NSO lacked authorization to access the servers and devices.

            18              NSO does not dispute that its conduct resulted in unauthorized access to victims’ devices in

            19       violation of the CFAA. Compl. ¶¶ 53–54. In addition, NSO lacked authorization to access Plaintiffs’

            20       servers, through which it carried out its malicious hacking activity. NSO argues it is immune from

            21       liability under the CFAA because the WhatsApp Terms of Service “authorized” its conduct. MTD at

            22       20-21. But NSO mischaracterizes its conduct and the nature of its unauthorized access.

            23
                     13
                       If this Court is not prepared to exercise jurisdiction, Plaintiffs request jurisdictional discovery before
            24       the MTD is resolved. See Gillespie v. Prestige Royal Liquors Corp., 183 F. Supp. 3d 996, 1003 (N.D.
                     Cal. 2016) (broad discretion to permit jurisdictional discovery); Mitan v. Feeney, 497 F. Supp. 2d
            25       1113, 1119 (C.D. Cal. 2007) (“some evidence” tending to show personal jurisdiction suffices). Here,
                     Plaintiffs have indisputably proffered evidence tending to show personal jurisdiction. While Plaintiffs
            26       respectfully submit that their jurisdictional showing is adequate, if this Court disagrees, further
                     discovery would allow Plaintiffs to present additional evidence bearing on, e.g.: Defendants’
            27       communications showing they knowingly exploited California-based technology from WhatsApp;
                     evidence that Defendants used funding from California entities to develop Pegasus; and evidence that
            28       Defendants used California-based computer systems, including QuadraNet servers, in their attacks.
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ATTO RNEY S AT LAW                                                      19               PLS.’ OPP. TO DEFS.’ MOTION TO DISMISS
 SAN FRA NCI S CO
                                                                                                    CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 29 of 35



              1             More specifically, and as alleged in the Complaint (Compl. ¶¶ 32-42): First, NSO reverse-

              2      engineered the WhatsApp app to create an unauthorized program designed to evade technical

              3      restrictions on the access and use of the WhatsApp service. Second, using its own program (as opposed

              4      to the legitimate WhatsApp app) NSO gained unauthorized access to WhatsApp servers. Third, NSO

              5      circumvented security measures built into WhatsApp’s servers by formatting messages to conceal

              6      malicious code and appear like legitimate calls. Fourth, NSO further used WhatsApp servers to gain

              7      unauthorized access to users’ devices. In short, Plaintiffs’ CFAA claims are not based on a terms-of-

              8      service violation but on NSO’s conduct in circumventing Plaintiffs’ technological restrictions.

              9             Under the CFAA, whether access is “authorized” depends on actions by the computer owner

            10       to grant or deny permission to the system. United States v. Nosal, 844 F.3d 1024, 1035–36 (9th Cir.

            11       2016) (Nosal II) (observing that all circuits agree on this definition); see also LVRC Holdings LLC v.

            12       Brekka, 581 F.3d 1127, 1133, 1135 (9th Cir. 2009). Courts have “typically analyzed the scope of a

            13       user’s authorization to access a protected computer on the basis of the expected norms of intended use

            14       or the nature of the relationship established between the computer owner and the user.” United States

            15       v. Phillips, 477 F.3d 215, 219 (5th Cir. 2007). Relevant considerations include whether the defendant

            16       engaged in “technological gamesmanship” to “aid in access,” Facebook, Inc. v. Power Ventures, Inc.,

            17       844 F.3d 1058, 1067 (9th Cir. 2016), and “whether the conduct at issue is analogous to ‘breaking and

            18       entering,’” hiQ Labs Inc. v. LinkedIn Corp., 938 F.3d 985, 1001 (9th Cir. 2019) (citation omitted).

            19              For example, in United States v. Morris, 928 F.2d 504 (2d Cir. 1991), the court concluded that

            20       a defendant who “exploit[ed] [a] security defect[]” to transmit a virus infecting other computers on his

            21       network gained “unauthorized access” to those computers because his use of email and network

            22       programs was not “in any way related to their intended function” and instead exploited “holes in both

            23       programs that permitted him a special and unauthorized access route into other computers.” Id. at 505,

            24       510; see Nosal II, 844 F.3d at 1037 (citing Morris with approval). And in Phillips, the court concluded

            25       that a user’s “‘brute-force attack’ program” that provided “a ‘back door’ into [his university’s] main

            26       server” was “not an intended use” of the network “within the understanding of any reasonable

            27       computer user and constitute[d] a method of obtaining unauthorized access to computerized data that

            28       he was not permitted to view or use.” 477 F.3d at 218, 220.
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 SAN FRA NCI S CO
                                                                                                 CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 30 of 35



              1             So too here, NSO gained unauthorized access to WhatsApp’s servers by reverse-engineering

              2      the app and using that program to evade WhatsApp security features that prevent access to and

              3      manipulation of technical call settings. See United States v. Nosal, 676 F.3d 854, 863 (9th Cir. 2012)

              4      (Nosal I) (observing that the “general purpose” of the CFAA “is to punish hacking—the circumvention

              5      of technological access barriers”). WhatsApp has never granted any user permission to access server-

              6      side call settings and alter the technical architecture routing calls through its servers. Instead, it

              7      employs security measures to protect its servers from abuse and prevent attacks on users. NSO built

              8      sophisticated software to circumvent those security measures, engaging in “technological

              9      gamesmanship” to access and alter network protocols to transmit malicious code to victims and hack

            10       into their devices. Power Ventures, Inc., 844 F.3d at 1067. This abuse lies at the core of the hacking

            11       activity the CFAA prohibits. See, e.g., H.R. Rep. 98-894 at 10 (1984), reprinted in 1984 U.S.C.C.A.N.

            12       3689, 3694–95 (CFAA addresses concern about serious harm caused by “‘hackers’ who have been

            13       able to access (trespass into) both private and public computer systems.”). Plaintiffs thus sufficiently

            14       allege that NSO accessed protected computers without authorization in violation of the CFAA.

            15              In arguing that this abuse was “authorized,” NSO observes that it signed up for WhatsApp

            16       accounts and so obtained a license to use WhatsApp’s services. MTD at 21. But users are licensed to

            17       access WhatsApp services only through the WhatsApp app, which has integrated security measures

            18       preventing users from accessing server-side call settings. Compl. ¶ 17; see also id. ¶¶ 19–23

            19       (WhatsApp Terms of Service prohibit users from gaining “unauthorized access to [WhatsApp’s]

            20       Services or systems” and “exploiting [WhatsApp’s] Services in impermissible or unauthorized

            21       manners”). NSO bypassed those restrictions by using its own program to gain unauthorized entry to

            22       the servers and manipulate settings not accessible to any user. NSO did not use WhatsApp’s servers

            23       “in any way related to their intended function” but instead built sophisticated software that provided

            24       “a special and unauthorized access route into other computers.” Morris, 928 F.2d at 510.

            25              Untenable consequences would flow from accepting NSO’s argument that creating an account

            26       for a service extinguishes CFAA liability even when the user gains unauthorized access through other

            27       means. For example, websites like the New York Times authorize users to sign up for accounts and

            28       access servers when reading and commenting on articles. But such access surely would not permit a
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 SAN FRA NCI S CO
                                                                                                 CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 31 of 35



              1      user to hack into the New York Times’s servers, manipulate normally inaccessible settings, and gain

              2      control of other readers’ comments. NSO’s claim that its access was authorized merely because it

              3      created a WhatsApp account would sharply circumscribe the CFAA’s scope and has no statutory basis.

              4             NSO’s reliance on Brekka—the only case it cites to support its “authorization” argument—is

              5      misplaced. In Brekka, an employee who indisputably had been granted access to his work computer

              6      and company materials was alleged to have violated the CFAA by accessing those materials for an

              7      improper purpose. 581 F.3d at 1129–30. The Ninth Circuit held that “when an employer authorizes

              8      an employee to use a company computer subject to certain limitations, the employee remains

              9      authorized to use the computer even if the employee violates those limitations.” Id. at 1133. Here,

            10       unauthorized access occurred not because WhatsApp messages were sent for an improper purpose but

            11       because NSO accessed the servers using its own program, evaded technical restrictions, and then

            12       commandeered the network infrastructure to deliver malware to victims. 14 The analysis in Brekka—

            13       which involved a classic employer-employee dispute and implicated concerns about transforming

            14       “arguably innocuous conduct” into federal crimes, Nosal II, 844 F.3d at 1038—has never been and

            15       should not be applied to malicious hacking activity like NSO’s conduct here. 15

            16                      b.      NSO’s conduct harmed Plaintiffs.

            17              The CFAA provides a private right of action to “[a]ny person who suffers damage or loss by

            18       reason of a violation . . . .” 18 U.S.C. § 1030(g), see also Theofel, 359 F.3d at 1078. The CFAA

            19       defines “loss” as “any reasonable cost to any victim, including the cost of responding to an offense,

            20       conducting a damage assessment, and restoring the data, program, system, or information to its

            21

            22       14
                       A pending Supreme Court case raises the question whether an employee who is authorized to view
                     information on a computer for particular purposes violates the CFAA by accessing that information
            23       for an improper purpose. Van Buren v. United States, No. 19-783 (U.S.). The resolution of that issue
                     will not affect Plaintiffs’ CFAA claim because NSO had no authorization to access Plaintiffs’ servers
            24       through a reverse-engineered program or manipulate server-side settings for any purpose.
            25       15
                        Even if NSO’s creation of WhatsApp accounts sufficed to authorize access to WhatsApp’s servers,
                     NSO exceeded any such authorized access by using an illicit, reverse-engineered program to evade
            26       security restrictions and gain access to call settings that users are not permitted to view or alter. Nosal
                     I, 676 F.3d at 858 (CFAA’s prohibition on “exceed[ing] authorized access” applies to “individuals
            27       whose initial access to a computer is authorized but who access unauthorized information or files”).
                     If the Court determines that unauthorized access did not occur, Plaintiffs request leave to amend their
            28       CFAA claim to allege that NSO exceeded authorized access.
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 SAN FRA NCI S CO
                                                                                                   CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 32 of 35



              1      condition prior to the offense.” 18 U.S.C. § 1030(e)(11). NSO does not (and cannot) dispute that the

              2      Complaint adequately alleges loss based on the costs associated with investigating and remediating

              3      NSO’s unauthorized access to WhatsApp’s servers. Compl. ¶¶ 44, 57. On that basis alone, Plaintiffs’

              4      CFAA claim should proceed. See Flextronics Int’l, Ltd. v. Parametric Tech. Corp., 2014 WL

              5      2213910, at *3 (N.D. Cal. May 28, 2014) (denying motion to dismiss where plaintiff alleged costs

              6      related to investigating and remediating defendant’s conduct).

              7             In addition, contrary to NSO’s contentions (MTD at 22), the Complaint further alleges loss

              8      based on NSO’s unauthorized access to users’ devices. The Ninth Circuit has held that plaintiffs can

              9      be injured under the CFAA by a defendant’s access to a third party’s device, specifically rejecting any

            10       requirement of control or ownership of the device. Theofel, 359 F.3d at 1072, 1078. Here, under

            11       WhatsApp’s Terms of Service, WhatsApp owns “all intellectual property rights” associated with the

            12       WhatsApp app and grants users a license “to use” the service when they download the app on their

            13       devices. See id. ¶ 19 (incorporating terms of service). And the Complaint alleges that NSO accessed

            14       WhatsApp computers without authorization to further their unauthorized access of Target Devices.

            15       Id. ¶¶ 53-54. NSO’s conduct impaired the integrity and security of the WhatsApp app on those devices

            16       and caused a loss to Plaintiffs within the meaning of Section 1030(e)(11), which included responding

            17       to the offense and conducting a damage assessment. Multiven, Inc. v. Cisco Sys., Inc., 725 F. Supp.

            18       2d 887, 894–95 (N.D.Cal.2010) (“Costs associated with investigating intrusions into a computer

            19       network and taking subsequent remedial measures are losses within the meaning of the statute.”).

            20              Indeed, to prevent NSO’s further unauthorized access to users’ devices, Plaintiffs needed to

            21       update the WhatsApp app. Compl. ¶¶ 44-45; Gheorge Decl. ¶ 2. Costs incurred when “upgrading a

            22       system’s defenses to prevent future unauthorized access” constitute a cognizable “loss” under the

            23       CFAA. Ticketmaster L.L.C. v. Prestige Entm't W., Inc., 315 F. Supp. 3d 1147, 1174 (C.D. Cal. 2018);

            24       Kimberlite Corp. v. John Does 1–20, 2008 WL 2264485, at *2 (N.D. Cal. June 2, 2008) (plaintiff “set

            25       forth a CFAA violation “where it alleged costs associated with “securing” its email system). Thus,

            26       the Complaint additionally pleads a valid CFAA claim based on NSO’s access to users’ devices.

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 SAN FRA NCI S CO
                                                                                                 CASE NO. 4:19-CV-07123-PJH
                          Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 33 of 35



              1                     c.      Plaintiffs’ conspiracy claim is sufficient.

              2             Because Plaintiffs have stated claims for violations of 18 U.S.C. § 1030(a)(2) and (a)(4), the

              3      Complaint states a conspiracy claim under § 1030(b) as well (as NSO seems to concede, MTD at 23).

              4                     Plaintiffs state a claim for trespass to chattels.

              5                     a.      NSO interfered with the intended operation of Plaintiffs’ servers and app.
              6             To state a claim for trespass to chattels, a complaint must allege “some injury to the chattel or

              7      to the plaintiff’s rights in it,” such as impairment of the property’s “condition, quality, or value.” Intel

              8      Corp. v. Hamidi, 30 Cal. 4th 1342, 1350, 1357 (2003). In the cyber context, such injury occurs if the

              9      defendant interfered with the “intended functioning of the system.” Id. at 1356.

            10              Here, NSO interfered with the intended functioning of Plaintiffs’ servers and the WhatsApp

            11       app. Compl. ¶ 46. Plaintiffs’ servers are programmed to route encrypted communications between

            12       users using established network protocols. Id. ¶¶ 17-18. NSO’s use of Plaintiffs’ servers to covertly

            13       transmit malware and fraudulently emulate network protocols plainly interfered with the intended

            14       functioning and integrity of the WhatsApp computer system. Compl. ¶¶ 17, 35. Indeed, NSO designed

            15       its malware to conceal that it was evading WhatsApp’s technical restrictions and interfering with the

            16       WhatsApp service by making it appear as if the malicious code originated from WhatsApp’s servers

            17       and not from NSO. Compl. ¶¶ 32, 36-37. Because the value of Plaintiffs’ servers and app derives

            18       from their ability to securely and accurately transmit communications between users, NSO’s actions

            19       impaired the quality and value of Plaintiffs’ system. See CompuServe Inc. v. Cyber Promotions, Inc.,

            20       962 F. Supp. 1015, 1022 (S.D. Ohio 1997) (holding that computer system’s value was “wholly derived

            21       from the extent to which that equipment can serve its subscriber base.”). 16

            22

            23       16
                        Courts routinely find cognizable injury to support a trespass-to-chattels claim when the defendant
                     impaired the ability of a plaintiff’s equipment to serve customers as intended. See, e.g., Coupons, Inc.
            24       v. Stottlemire, 2008 WL 3245006, at *6 (N.D. Cal. July 2, 2008) (defendant circumvented server’s
                     technical restriction and impaired plaintiff’s ability to provide coupons to other customers); Craigslist
            25       Inc. v. 3Taps Inc., 942 F. Supp. 2d 962, 980 (N.D. Cal. 2013) (unauthorized access reduced website’s
                     “capacity to service its users”); Thrifty-Tel, Inc. v. Bezenek, 46 Cal. App. 4th 1559, 1564, 1566 (1996)
            26       (hacking of network denied “some subscribers access”); Jedson Eng'g, Inc. v. Spirit Const. Servs.,
                     Inc., 720 F. Supp. 2d 904, 926 (S.D. Ohio 2010) (unauthorized access harmed value of “servers as a
            27       safe, secure location for project files”); Skapinetz v. CoesterVMS.com, Inc, 2019 WL 2579120, at *5
                     (D. Md. June 24, 2019) (defendant “damaged the value of [plaintiff’s] accounts by breaching the
            28       security and privacy” of email accounts).
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 SAN FRA NCI S CO
                                                                                                    CASE NO. 4:19-CV-07123-PJH
                           Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 34 of 35



              1              NSO misses the point in focusing on whether the transmission of its messages embedded with

              2      malicious code burdened Plaintiffs’ services as a quantitative matter. MTD at 24-25 (citing cases in

              3      which plaintiffs failed to explain how defendant’s use of system interfered with system’s operation).

              4      The Complaint alleged cognizable harm based not on the number of messages sent, but on the effect

              5      of those transmissions in impairing the integrity, quality, and value of WhatsApp’s services. That

              6      suffices to allege cognizable injury for a trespass-to-chattels claim. See Hamidi, 30 Cal. 4th at 1353.

              7                     b.      Plaintiffs’ loss of goodwill and remediation expenditures are cognizable.
              8              Contrary to NSO’s contention, Hamidi does not categorically foreclose the loss of goodwill
              9      and remediation expenditures as cognizable harms.        30 Cal. 4th at 1357–58.        Rather, Hamidi
            10       acknowledged that courts have found such losses actionable where the harm has a sufficient
            11       “connection” to the property at issue, such as when the loss of goodwill stems from the “functioning
            12       of the company’s [computer system].” Id. at 1358 (describing loss of reputation and goodwill in
            13       CompuServe, 962 F. Supp. at 1023).
            14               Here, Plaintiffs’ loss of goodwill resulted directly from NSO’s interference with the proper
            15       functioning and integrity of the WhatsApp system. See CompuServe, 962 F. Supp. at 1023; Microsoft
            16       Corp. v. Does 1–18, 2014 WL 1338677, at *10 (E.D. Va. Apr. 2, 2014) (defendants’ manipulation of
            17       Microsoft’s search engines caused injury to goodwill). Moreover, Plaintiffs had to expend resources
            18       to combat and remediate the attacks. Twitch Interactive, Inc. v. Does 1 Through 100, 2019 WL
            19       3718582, at *4 (N.D. Cal. Aug. 7, 2019) (harm where plaintiff “expend[ed] resources to combat
            20       [defendant’s] attack”); Hotmail Corp. v. Van$ Money Pie Inc., 1998 WL 388389, at *7 (N.D. Cal.
            21       Apr. 16, 1998) (harm from “added costs for personnel to sort through and respond to the misdirected
            22       emails”); Summit Entm’t, LLC v. Santia, 2014 WL 12577430, at *5 (C.D. Cal. June 24, 2014) (harm
            23       from “expend[ing] time and resources investigating and stopping a breach in the servers’ security”).
            24       NSO’s attack on the trespass-to-chattels claim accordingly lacks merit.
            25       IV.     CONCLUSION
            26               Plaintiffs respectfully request that the Court deny NSO’s motion to dismiss.
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 SAN FRA NCI S CO
                                                                                                 CASE NO. 4:19-CV-07123-PJH
                         Case 4:19-cv-07123-PJH Document 55 Filed 04/23/20 Page 35 of 35



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              2      Dated: April 23, 2020              Respectfully submitted,
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 SAN FRA NCI S CO
                                                                                        CASE NO. 4:19-CV-07123-PJH
